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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                   12-CR-295(1) (PAM)

______________________________________________________________________________

United States of America,

                              Plaintiff

v.
                                                     POSITION OF DEFENDANT WITH
                                                     RESPECT TO SENTENCING

Eric Wade Forcier,

                              Defendant

______________________________________________________________________________

       Counsel represents to the court that he has reviewed the Presentence Report with the

defendant and has informed the United States Probation Office and the attorney for the

government of no significant disputed factual information. The defendant pled guilty pursuant to

Federal Rule of Criminal Procedure 11(c)(1)(C) agreeing to a sentence of 240 months, which

falls within the sentencing guideline range estimated by probation in the presentence

investigation report.

       Therefore, the defendant respectfully requests the court to adopt the plea agreement as

presented to the court. For these reasons, defendant respectfully believes a sentence consistent

with the plea agreement is appropriate..


Dated: June 24, 2013                                         Respectfully submitted,

                                                            /S/ Kyle D. White_______________
                                                             Kyle D. White, Atty ID# 22599X
                                                             332 Minnesota Street, Suite W1710
                                                             St. Paul, Minnesota 55101
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